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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-03024-RMR-STV

  WAZIR ALI MUHAMMAD,

         Plaintiff,

  v.

  TRANSUNION CONSUMER REPORTING AGENCY,

         Defendant.


                                    FINAL JUDGMENT


         In accordance with the orders filed during the pendency of this case, and

  pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

         Pursuant to the Order of Judge Regina M. Rodriguez entered on September 30,

  2021. It is

         ORDERED that the Magistrate Judge’s recommendation, ECF No. 66, is

  ACCEPTED and ADOPTED. It is

         FURTHER ORDERED that Defendant’s Motion to Dismiss, ECF No. 20, is

  GRANTED. It is

         FURTHER ORDERED that final judgment is hereby entered in favor of

  Defendant TransUnion Consumer Reporting Agency and against Plaintiff Wazir Ali

  Muhammad. It is

         FURTHER ORDERED that each party shall bear its own costs and attorney’s

  fees. It is

         FURTHER ORDERED that Plaintiff’s claims are DISMISSED.
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        Dated at Denver, Colorado this 1st day of October, 2021.

                                         FOR THE COURT:
                                         JEFFREY P. COLWELL, CLERK

                                         By: s/Stacy Libid
                                         Stacy Libid, Deputy Clerk
